Case 3:10-cv-01138-PGS-LHG Document 99 Filed 05/12/15 Page 1 of 2 PageID: 3336




                          UNITED STATES COURT OF APPEALS
                               FOR THE THIRD CIRCUIT

                                          __________

                                   Nos. 12-2540 & 12-2541
                                         __________

                  SAM HARGROVE; ANDRE HALL; MARCO EUSEBIO,
                   individually and on behalf of all others similarly situated,
                                                    Appellants No. 12-2540
                                               v.

                                       SLEEPY’S LLC,
                                                Cross-Appellant in No. 12-2541

                                               v.

                     I STEALTH, LLC; EUSEBIO'S TRUCKING CORP;
                              CURVA TRUCKING, LLC

                                          __________

                       On Appeal from the United States District Court
                              for the District of New Jersey

                                  (D. N.J. No. 3-10-cv-01138)
                         District Judge: Honorable Peter G. Sheridan

                                 ARGUED on April 23, 2013

              BEFORE: JORDAN, SLOVITER, and NYGAARD, Circuit Judge*

                                          __________

                                         JUDGMENT
                                         __________




 *
     Judge Sloviter assumed senior status on June 21, 2013.
Case 3:10-cv-01138-PGS-LHG Document 99 Filed 05/12/15 Page 2 of 2 PageID: 3337




         This cause came to be heard on the record from the United States District Court

 for the District of New Jersey and was argued by counsel on April 23, 2013.

         On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

 Court that the order of the said District Court entered on March 29, 2012 be and the same

 hereby is VACATED. This matter is hereby REMANDED for further consideration

 consistent with our opinion.

         The cross-appeal filed the Appellees at number 12-2541 is hereby DISMISSED as

 moot.

         Costs are taxed against the Appellee.

         All of the above is in accordance with the Opinion of this Court.


                                                     ATTEST:


                                                     s/Marcia M. Waldron
                                                     Clerk
 Dated: May 12, 2015




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